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            EXHIBIT A
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                                                Democracy Dies in Darkness




Gaza health authorities say Israel kills 44 waiting for aid as
war's death toll passes 56,000
Palestinian witnesses and hospitals say Israeli forces and drones have opened fire toward
hundreds of people waiting for aid in southern and central Gaza, killing at least 44 people
June 24, 2025


By Wafaa Shurafa and Samy Magdy | AP


DEIR AL-BALAH, Gaza Strip — Israeli forces and drones opened fire toward hundreds of Palestinians waiting for aid
in separate incidents in southern and central Gaza early Tuesday, killing at least 44, witnesses and hospitals said, as
health authorities announced the number of Palestinians killed in the war has risen above 56,000.


Palestinian witnesses and health officials say Israeli forces have repeatedly opened fire on crowds heading toward
desperately needed food, killing hundreds in recent weeks . The military says it has fired warning shots at people it said
approached its forces in a suspicious manner.


In central Gaza, three witnesses told The Associated Press that Israeli forces opened fire as people advanced east
toward aid trucks south of Wadi Gaza.


“It was a massacre,” said Ahmed Halawa. He said tanks and drones fired at people, “even as we were fleeing. Many
people were either martyred or wounded.”


Hossam Abu Shahada said drones were flying over the area, watching the crowds, then there was gunfire from tanks
and drones as people were moving eastward. He described a “chaotic and bloody” scene as people tried to escape.


He said he saw at least three people lying motionless and many others wounded.


Israel’s military said it was reviewing the incident, which took place near the Netzarim corridor, a road that separates
northern and southern Gaza.


The Awda hospital in the urban Nuseirat refugee camp, which received the victims, confirmed 25 deaths and said 146
others were wounded. It said 62 were in critical condition and transferred to other hospitals.


In the central town of Deir al-Balah, the Al-Aqsa Martyrs hospital said it received the bodies of six people from the
same incident.
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In the southernmost city of Rafah, witnesses said Israeli troops opened fire as crowds tried to reach a food distribution
site run by the Gaza Humanitarian Foundation. At least 19 were killed and 50 others wounded, according to Nasser
hospital and Gaza’s Health Ministry.


The new distribution sites run by an American contractor, with U.S. and Israeli government support , have been
plagued by scenes of violence and chaos since opening last month. The GHF sites are in Israeli military zones where
independent media have no access.


The Trump administration has authorized providing $30 million to the GHF, a U.S. official said Tuesday, speaking on
condition of anonymity to discuss a sensitive diplomatic issue involving a controversial aid program.


Two witnesses said Israeli troops started firing as thousands of Palestinians massed at the Shakoush area, several
hundred meters (yards) from the distribution site.


The Israeli military did not immediately return a request for comment.


Salem Ismail was in the crowd and was shot in a leg. He said he saw forces firing towards the crowd who were moving
north toward the site.


Ayman Abu Joda said he saw heavy gunfire from Israeli tanks and that many people were shot. He said he helped
evacuate three wounded people, one hit in the chest and two in the legs.


“It was the same tragedy every day: We seek food and the occupation opens fire and kills many,” he said.


The casualty toll was confirmed to The Associated Press by Zaher al-Waheidi, head of the Health Ministry’s records
department.


The GHF said on social media its hub there opened Tuesday at 10 a.m. and closed after finishing food distribution. It
called on people not to head to the hub.


Israel wants the GHF to replace a system coordinated by the United Nations and international aid groups. Along with
the United States, it accuses Hamas of stealing aid, without offering evidence. The U.N. denies there is systematic
diversion of aid.




Death toll in Gaza over 56,000
Meanwhile, Gaza’s Health Ministry said Israel’s 21-month military operation in Gaza has killed 56,077 people. The war
was sparked by Hamas’ surprise attack on southern Israel on Oct. 7, 2023, that killed around 1,200 people dead, mostly
civilians, and took 251 others hostage . Many have been released by ceasefire or other agreements.


The death toll is by far the highest in any round of Israeli-Palestinian fighting.
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The ministry said the dead include 5,759 who have been killed since Israel resumed fighting on March 18, shattering a
two-month ceasefire.


The ministry doesn’t distinguish between civilians and combatants but says more than half of the dead were women
and children.


Israel says it only targets militants and blames civilian deaths on Hamas, which operates in heavily populated areas.
Israel says over 20,000 Hamas militants have been killed, though it has provided no evidence to support that claim.
Hamas has not commented on its casualties.


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Associated Press writers Matthew Lee and Ellen Knickmeyer in Washington contributed.
